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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
             vs.                            )                8:05CR237
                                            )
PATRICK SMITH,                              )                  ORDER
                                            )
                    Defendant.              )




      Before the court is the Motion for Enlargement of Time to Submit Brief [45] filed
by defendant Patrick Smith. The government has no objection to the continuance.
Good cause being shown, the motion will be granted and the extension will be given.

      IT IS ORDERED:

      1.     That the Motion for Enlargement of Time to Submit Brief [45] filed by
             defendant Patrick Smith is granted. The defendant’s brief regarding the
             Motion to Suppress [36] is due on or before October 21, 2005.

      2.     The government’s response brief is due on or before October 28, 2005.

      Upon the receipt of the government’s response brief, the matter will be deemed
submitted and a timely Report and Recommendation will be issued.

      DATED this 14th day of October, 2005.

                                         BY THE COURT:


                                         s/ F.A. Gossett
                                         United States Magistrate Judge
